               Case 06-30097 Document 74 Filed in TXSB on 07/08/11 Page 1 of 1

                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS


In Re: Raymond Valdez
       Andrea Valdez
       Debtor(s)                                       Case No.: 06−30097
                                                       Chapter: 13


                                              ORDER CLOSING CASE


The estate has been fully administered. Therefore, the Court orders:

1. William E. Heitkamp is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 7/8/11
